Case 1:20-cv-11297-PBS Document 71 Frddd@e7/O6/20 PRag@ pb

Civil Action No.: 1:20-CV—-11297—PBS
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)
This summons for (name of individual and title, if any) U.S. Attorney for the District of Massachusetts
was received by me on (date) 07/14/2020

“| | personally served the summons on the individual at (place)

 

on (date) : or

 

“| T left the summons at the individual's residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
“ I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or

 

() T returned the summons unexecuted because ; or

; | served the summons on Paul Harvey, Office Administrator for office of the
X Other (specify): U.S. Attorney, located at the John Joseph Moakley Federal Courthouse,
1 Courthouse Way, Suite 9200, Boston MA 02210 on 07/15/2020.

   

My fees are $ 0.00 for travel and $0.00 for services, for atotal of $0.00

  

I declare under penalty of perjury that this information is*

10/20 ) 4 —

Date oe ,
bames Burke, Constable

“Printed name and title

 

PO Box 51576, Boston, MA 02205

Server's Address

 

Additional information regarding attempted service, etc:

Documents Delivered:

- Federal Summons in a Civil Action
- Complaint
